Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 1 of 19 PageID# 1244




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division



 Intersections Inc. and Net Enforcers, Inc.,

                        Plaintiffs,                     Civil Action No. 1:09CV597 (LMB/TCB)
                   v.

 Joseph C. Loomis and Jenni M. Loomis,

                        Defendants.


                   PLAINTIFFS’ PRE-TRIAL DISCLOSURES PURSUANT TO
                      FEDERAL RULE OF CIVIL PROCEDURE 26(a)(3)
                         AND THE COURT’S JULY 7, 2009 ORDER

         Pursuant to Federal Rule of Civil Procedure 26(a)(3) and the Court’s July 7, 2009 Order,

 Plaintiffs Intersections Inc. (“Intersections”) and Net Enforcers, Inc. (“NEI”) hereby submit their

 Pre-Trial Disclosures.

 I. WITNESSES

 Plaintiffs Intersections and NEI expect to call following fact witnesses at trial:

         Madalyn Behneman

         Stuart Bennett

         David Burns

         Chris Cwalina

         Barbara Davis

         Danielle DiDio

         Larry Heimer

         Keith Jenkins

         Matt Leberer


 EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 2 of 19 PageID# 1245



         Jenni M. Loomis

         Joseph C. Loomis

         John Scanlon

         Sheilah Snyder

         Chris Soyars

         Ross Volk

         Jason Wood

 Plaintiffs Intersections and NEI may call the following fact witnesses at trial:

         Scott Bevington

         Adam Cohen

         Neal Dittersdorf

         James Dvorak

         Dan Essig

         Jenna Fahey

         Amanda Johnson

         Joetta Kilby

         Rebecca Krause

         Howard Leyda

         Christopher Loomis

         Phil Murawski

         Kris Murray

         Lu Pham

         Tim Rohrbaugh



                                                  2
 EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 3 of 19 PageID# 1246



         Michael Stanfield

         Michelle Tutt

         Tracy Ward

 In addition, Plaintiffs Intersections and NEI reserve the right to call the following fact witnesses

 at trial: each person identified in an interrogatory answer by Plaintiffs or Defendants; each

 person listed by Defendants in their pretrial list of witnesses; each person whose deposition was

 taken; such document custodians as may be necessary; and such rebuttal witnesses as may be

 necessary.



 Plaintiffs have identified below those witnesses they expect to testify by deposition and the

 portions of the deposition transcripts Plaintiffs have designated.          Plaintiffs expect that

 Defendants will have counter-designations. Plaintiffs expect to work with Defendants to agree

 on all designations, and will apprise the Court of any disputes that cannot be resolved by the

 parties prior to trial.

         WITNESS                                       DESIGNATIONS

 David Burns                  8:3 – 8:15; 32:1 - 32:13; 32:21 - 33:12; 104:3 – 104:16; 108:15 -
                              133:16; 155:5 - 157:11; 158:7 - 160:1; 161:20 - 162:20; 169:6 -
 (deposition taken on         176:22; 177:18 - 182:19; 211:18 – 212:21; 213:4 - 214:20; 223:1 –
 December 3, 2009)            225:3; 227:15 - 229:7; 236:22 - 237:2; 237:6 - 238:15; 239:2 –
                              243:16; 249:2 - 250:16; 256:2 - 256:9; 257:7 - 259:22; 260:13 -
                              261:15; 263:5 - 265:7

 Barbara Davis                10:5 – 20:22; 21:20 – 25:20; 26:7 – 32:20; 33:1 – 40:11; 41:3 –
                              41:12; 41:15 – 49:8; 51:2 – 51:4; 51:16 – 60:22; 62:7 – 67:10; 69:7
 (deposition taken on         – 74:8; 79:17 – 80:11; 89:15 – 90:10; 103:1 – 103:18; 104:7 –
 November 23, 2009)           104:21

 Larry Heimer                 6:1 – 6:3; 8:11 – 8:18; 13:22 – 14:1; 15:1 – 15:3; 15:7 – 17:12;
                              19:18 – 21:2; 27:12 – 27:22; 34:24 – 37:14; 38:16 – 40:9; 42:4 –
 (deposition taken on         42:25; 43:9 – 48:6; 48:21 – 49:11; 49:23 – 50:10; 53:6 – 54:1; 71:13
 December 8, 2009)            – 71:23; 73:2 – 75:9; 76:9 – 77:8; 77:14 – 77:23; 78:5 – 80:2; 80:10


                                                  3
 EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 4 of 19 PageID# 1247



                        – 81:11; 81:16 – 83:21; 84:3 – 85:3; 85:9 – 86:23; 87:5 – 87:24;
                        88:7 – 90:16; 90:20 – 92:8; 92:17 – 94:18; 95:13 – 98:15; 11:4 –
                        111:6; 112:13 – 112:18

 Jenni M. Loomis        7:11 - 7:14; 15:15 - 16:4; 16:20 - 17:10; 18:4 - 18:21; 19:8 - 20:15;
                        22:9 - 22:17; 28:13 - 28:16; 31:3 - 32:6; 33:1 - 33:8; 35:2 - 35:8;
 (deposition taken on   35:18 - 36:4; 36:19 - 36:22; 39:1 - 39:8; 42:4 - 42:7; 42:19 - 42:21;
 November 8, 2009)      43:5 - 43:8; 55:12 - 55:17; 56:21 - 57:2; 57:6 - 57:19; 66:12 - 66:22;
                        70:5 - 70:19; 71:4 - 71:20; 72:20 - 73:3; 75:14 - 76:12; 77:8 - 77:10;
                        90:6 - 90:21; 97:13 - 97:16; 111:10 - 111:12; 113:15 - 114:2; 115:1 -
                        115:6; 123:20 - 124:11; 126:2 - 126:13; 130:6 - 130:22; 131:5 -
                        133:21; 143:14 - 146:1; 146:14 - 146:18; 165:3 - 165:12; 176:6 -
                        177:5; 177:18 - 178:3; 178:10 - 179:16; 180:8 - 180:20; 181:6 -
                        181:11; 188:5 - 188:10; 188:15 - 188:17; 189:2 - 190:19; 191:19 -
                        192:6; 192:18 - 194:9; 196:4 - 198:1; 198:8 - 199:4; 220:19 -
                        220:21; 221:20 - 225:7; 228:6 - 228:11; 229:3 - 230:11; 231:1 -
                        234:18; 235:4 - 240:13; 240:17 - 241:3; 242:8 - 243:2; 243:14 -
                        244:7; 245:3 - 246:22; 247:3 - 247:15; 249:4 - 249:10; 251:16 -
                        252:6; 253:19 - 254:4; 254:9 - 255:16; 258:1 - 258:4; 259:5 -
                        259:22; 262:8 - 262:10; 263:9 - 263:11; 264:12 - 265:12; 267:4 -
                        267:19; 269:7 - 269:9; 269:16 - 269:21; 271:3 - 271:21; 274:3 -
                        274:19; 276:11 - 277:3; 277:7 - 278:3; 280:13 - 281:3; 281:11 -
                        281:17; 283:4 - 283:6; 299:20 - 301:15; 302:2 - 302:6

 Joseph C. Loomis       7:1 – 7:16; 7:21 – 7:22; 14:16 – 16:22; 36:4 – 38:7; 45:1 – 45:4;
                        59:22 – 60:15; 61:1 – 61:10; 61:17 – 63:13; 79:17 – 79:20; 81:2 –
 (deposition taken on   82:14; 83:5 – 83:17; 95:9 – 95:17; 167:5 – 167:19; 168:6 – 168:11;
 November 9-10, 2009)   194:18 – 195:12; 204:7 – 204:11; 213:22 – 228:10; 288:1 – 288:12;
                        327:10 – 327:21; 345:8 – 345:19; 347:1 – 347:19; 371:9 – 372:18;
                        380:5 – 381:19; 384:1 – 387:13; 394:17 – 395:11; 404:13 – 406:19;
                        409:13 – 409:17; 411:2 – 411:11; 414:1 – 416:18; 417:16 – 418:7;
                        419:16 – 420:12; 426:6 – 426:9; 451:5 - 451:12; 457:8 - 457:15;
                        478:13 - 481:20; 516:6 - 516:20; 527:22 - 529:9; 552:1 - 552:15;
                        582:7 - 584:2; 590:21 - 591:3; 681:9 - 682:1; 692:15 - 694:10;
                        740:22 - 742:10; 744:21 - 745:15; 748:15 - 749:16; 753:15 - 753:17

 Ross Volk              5:1 – 5:3; 10:12 – 12:6; 12:19 – 15:19; 16:2 – 17:17; 18:5 – 18:23;
                        32:5 – 32:16
 (deposition taken on
 November 20, 2009)




                                           4
 EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 5 of 19 PageID# 1248




 II. EXHIBITS
 Plaintiffs Intersections and Net Enforcers expect to seek to admit into evidence the following

 exhibits during trial:

         Exhibit 2: Complaint

         Exhibit 3: Letter to John Scanlon from Joseph Loomis dated 12/15/2008

         Exhibit 4: “Email” to John Scanlon from Joseph Loomis dated 10/16/2007

         Exhibit 5: Draft Memo to Files from Madalyn Behneman dated 03/09/2009

         Exhibit 13: Objection to Intersections Inc.’s First Request for Production of Documents
         to Jenni M. Loomis

         Exhibit 14: Answer and Grounds of Defense for Defendant Jenni M. Loomis

         Exhibit 15: Net Enforcers, Inc. Audit Trail dated 04/28/2008

         Exhibit 16: Net Enforcers, Inc. Voided/Deleted Transactions Detail dated 09/03/2007

         Exhibit 17: Net Enforcers, Inc. Voided/Deleted Transactions Detail dated 09/15/2007

         Exhibit 18: Net Enforcers, Inc. Voided/Deleted Transactions Detail dated 10/08/2007

         Exhibit 19: Net Enforcers, Inc. Voided/Deleted Transactions Detail dated 10/07/2007

         Exhibit 20: Net Enforcers, Inc. Voided/Deleted Transactions Detail dated 09/30/2007

         Exhibit 21: Net Enforcers, Inc. Voided/Deleted Transactions Detail dated 02/12/2008

         Exhibit 22: Email chain dated 10/02/2007 (INTX 097877 – 097878)

         Exhibit 23: Email to Jenni Loomis from Joseph Loomis dated 11/12/2007

         Exhibit 24: Email chain dated 11/05/2007 (INTX 084522 – 084523)

         Exhibit 26: Email chain dated 04/03/2007 (INTX 152209 – 152212)

         Exhibit 27: Email chain dated 05/03/2007

         Exhibit 28: Email chain dated 06/20/2007

         Exhibit 29: Email chain dated 01/09/2008 (INTX 094406 – 094407)


                                                 5
 EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 6 of 19 PageID# 1249




         Exhibit 30: Email chain dated 06/24/2008 (INTX 098605 – 098610)

         Exhibit 31: Email chain dated 07/02/2008

         Exhibit 32: Net Enforcers, Inc. Invoice to Sony Electronics dated 07/31/2007

         Exhibit 33: Net Enforcers, Inc. Invoice to Sony Electronics dated 01/31/2008

         Exhibit 34: Email chain dated 10/09/2007

         Exhibit 35: Email chain dated 10/24/2007 (INTX 096643 – 096646)

         Exhibit 36: Email chain dated 02/14/2008

         Exhibit 37: Email chain dated 02/07/2008

         Exhibit 38: Joseph Loomis’ Petition for Injunction Against Harassment

         Exhibit 39: Sheilah Snyder’s Injunction Against Harassment

         Exhibit 40: Sheilah Snyder’s Petition for Injunction Against Harassment

         Exhibit 41: Joseph Loomis’ Petition for Workplace Injunction

         Exhibit 42: Net Enforcers Discounted Cash Flow Analysis/Valuation 2006 – 2011, Cross
         Keys Capital

         Exhibit 44: Answer, Grounds of Defense and Counterclaim of Defendant Joseph C.
         Loomis

         Exhibit 45: Net Enforcers Estimated Closing Balance Sheet dated 11/30/2007 (INTX
         046221 – 046220)

         Exhibit 46: Letter to Joseph Loomis from John Scanlon dated 02/28/2008

         Exhibit 48: Schedule 2.23 (INTX 046552 – 046555)

         Exhibit 50: Letter to Joseph Loomis from Kris Murray dated 09/06/2007 (INTX 093740)

         Exhibit 51: Email chain dated 09/29/2009 (INTX 094454 – 094455)

         Exhibit 52: Email to Joseph Loomis to from Kevin Jones dated 09/14/2007 (INTX
         093730)

         Exhibit 53: Email chain dated 10/26/2007


                                                6
 EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 7 of 19 PageID# 1250




         Exhibit 54: Email chain dated 09/12/2007

         Exhibit 55: Email chain dated 11/01/2007 (JL0165502 – 0165520)

         Exhibit 56: Email chain dated 10/13/2009 (INTX 000245 – 000251)

         Exhibit 57: Email chain dated 10/30/2007 (INTX 093742)

         Exhibit 59: Email chain dated 10/24/2007 (INTX 093678)

         Exhibit 60: Email to Danielle DiDio from Rebecca Krause dated 10/26/2007

         Exhibit 61: Email to Danielle DiDio from Joseph Loomis dated 09/24/2007 (INTX
         094283)

         Exhibit 62: Email chain dated 10/05/2007 (INTX 090877 – 090882)

         Exhibit 63: Email to Joseph Loomis from Danielle DiDio dated 10/16/2007 (INTX
         094432)

         Exhibit 64: Closing Certificate of Joseph C. Loomis and Net Enforcers, Inc. (INTX
         046192 – 046193)

         Exhibit 65: Employment Agreement (INTX 046204 – 046219)

         Exhibit 66: Letter to Joseph Loomis and Net Enforcers, Inc from John Scanlon dated
         11/19/2008

         Exhibit 67: Defendant Joseph C. Loomis’ Responses to Plaintiff Intersections Inc.’s First
         Set of Interrogatories

         Exhibit 68: Letter to Joseph Loomis and Net Enforcers, Inc. dated 10/20/2008

         Exhibit 69: Defendant Joseph C. Loomis’ Responses to Plaintiff Net Enforcers Inc.’s
         First Set of Interrogatories

         Exhibit 70: Sony Electronics Inc. Confidential Contract Summary and Authorization and
         Services Agreement

         Exhibit 71: Amendment to Services Agreement

         Exhibit 72: Amendment Two to Services Agreement

         Exhibit 73: Amendment Three to Services Agreement (INTX 046178 – 046179)



                                                 7
 EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 8 of 19 PageID# 1251



         Exhibit 74: Letter to Joseph Loomis from Lance Venable dated 11/27/2007 (INTX
         046156 – 046159)

         Exhibit 75: Letter Support System Services Agreement (INTX 046585 – 046592)

         Exhibit 76: Email to Neal Dittersdorf from Larry McFarland dated 11/29/2007 (INTX
         046350 – 046351)

         Exhibit 77: Amendment to Internet Enforcement Agreement (INTX 046181 – 046183)

         Exhibit 78: Letter to Bruce Longbottom from Larry McFarland dated 11/16/2007 (INTX
         046340 – 046343)

         Exhibit 79: Email chain dated 11/12/2007

         Exhibit 80: Net Enforcers, Inc. Balance Sheet Summary Comparison

         Exhibit 81: Net Enforcers, Inc. Voided/Deleted Transactions Detail dated 02/12/2008

         Exhibit 82: Email chain dated 09/03/2009

         Exhibit 83: Email to Jenni Loomis from Barbara Davis dated 01/31/2007 (INTX 198288
         – 198321)

         Exhibit 84: Email to Jenni Loomis from Barbara Davis dated 02/28/2007 (INTX 199019
         – 199030)

         Exhibit 85: Email to Joseph Loomis from Barbara Davis dated 03/30/2007 (INTX
         198322 – 198334)

         Exhibit 86: Email to Joseph Loomis from Barbara Davis dated 05/01/2008 (INTX
         198240 – 198252)

         Exhibit 87: Email to Joseph Loomis from Barbara Davis dated 06/01/2007 (INTX
         199243 – 199261)

         Exhibit 88: Email to Joseph Loomis from Barbara Davis dated 07/05/2007 (INTX
         199171 – 199192)

         Exhibit 89: Email to Joseph Loomis from Barbara Davis dated 08/01/2007 (INTX
         199150 – 199170)

         Exhibit 90: Email to Joseph Loomis from Barbara Davis dated 09/04/2007 (INTX
         198253 – 198269)




                                                8
 EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 9 of 19 PageID# 1252



         Exhibit 91: Email to Jenni Loomis from Barbara Davis dated 09/04/2007 (INTX 198270
         – 198287)

         Exhibit 92: Email to Joseph Loomis from Barbara Davis dated 10/03/2007 (INTX
         199396 – 199436)

         Exhibit 93: Email to Joseph Loomis from Barbara Davis dated 10/29/2007 (INTX
         199329 – 199341)

         Exhibit 94: Email to Joseph Loomis from Barbara Davis dated 11/30/2007 (INTX
         199307 – 199328)

         Exhibit 95: Letter excel spreadsheet

         Exhibit 96: Letter excel spreadsheet

         Exhibit 97: Letter excel spreadsheet

         Exhibit 98: Letter excel spreadsheet

         Exhibit 99: Letter excel spreadsheet

         Exhibit 100: Letter excel spreadsheet

         Exhibit 101: Letter excel spreadsheet

         Exhibit 102: Letter excel spreadsheet

         Exhibit 103: Email chain dated 08/17/2007 (INTX 052706 – 046672)

         Exhibit 108: Email chain dated 03/11/2009 (INTX 052672 – 052677)

         Exhibit 112: Email chain dated 05/30/2008 (INTX 044194 – 044199)

         Exhibit 124: Net Enforcers Discounted Cash flow Analysis/Valuation 2006 – 2011
         (INTX 198970)

         Exhibit 125: Email chain dated 02/05/2007 (CK 001961)

         Exhibit 128: Email chain dated 02/13/2007 (CK 002557 – 002559)

         Exhibit 130: Email chain dated 03/28/2007 (INTX 198869 – 198884)

         Exhibit 133: Email to John Scanlon from Matt Wells dated 04/12/2007 (INTX 198897 –
         198957)



                                                 9
 EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 10 of 19 PageID# 1253



          Exhibit 134: Email chain dated 05/01/2007 (CK 002340 – 002342)

          Exhibit 136: Email chain dated 05/18/2007 (INTX 138082 – 138084)

          Exhibit 137: Email chain dated 07/16/2007 (INTX 137926 – 137928)

          Exhibit 138: Letter to David Fisher from Christopher Cwalina dated 11/25/2009 (INTX
          398681 – 398683)

          Exhibit 158: Net Enforcers Inc. Adjusting Entries dated 12/31/2006 (INTX 203361 –
          203364)

          Exhibit 159: Net Enforcers Inc. Adjusting Entries dated 11/30/2007
          (HEIMER_HC_000389 – 000390)

          Exhibit 160: Net Enforcers Inc. Balance Sheet Summary Comparison: January 2003 –
          August 15, 2007

          Exhibit 161: Net Enforcers Inc. Voided/Deleted Transactions Detail dated 08/13/2007

          Exhibit 162: Net Enforcers Inc. Voided/Deleted Transactions Detail dated 08/30/2007

          Exhibit 163: Net Enforcers Inc. Voided/Deleted Transactions Detail dated 09/03/2007

          Exhibit 164: Net Enforcers Inc. Voided/Deleted Transactions Detail dated 09/08/2007

          Exhibit 165: Net Enforcers Inc. Voided/Deleted Transactions Detail dated 02/12/2008

          Exhibit 166: Net Enforcers Inc. Audit Trail – Reclassified Expenses

          Exhibit 167: Net Enforcers Inc. Audit Trail dated 04/28/2008

          Exhibit 175: Email chain dated 02/12/2008 (JML 0008968 – 0008970)

          Exhibit 195: Letter to Joseph Loomis and Net Enforcers, Inc. from John Scanlon dated
          11/2008 (INTX 055193 – 055201)

          Exhibit 198: Email chain dated 10/28/2009 (INTX 199039 – 199041)

          Exhibit 199: Letter to David Fisher from Christopher Cwalina dated 11/25/2009 (INTX
          398681 – 398683)

          Exhibit 202: Email chain dated 08/21/2008

          Exhibit 206: Email to Michael Stanfield from Joseph Loomis dated 08/25/2008 (INTX
          132093 – 132098)


                                                 10
  EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 11 of 19 PageID# 1254




          Exhibit 212: Email chain dated 06/06/2008 (INTX 107381 – 107382)

          Exhibit 213: Email chain dated 10/04/2008 (INTX 107341 – 107342)

          Exhibit 214: Email to Shawn Nelson from Joseph Loomis dated 06/05/2008 (INTX
          121248 – 121249)

          Exhibit 215: Email chain dated 06/17/2008 (INTX 124569 – 124572)

          Exhibit 216: Email chain dated 06/11/2008 (INTX 107824 – 107826)

          Exhibit 217: Email chain dated 06/23/2008 (INTX 125585 – 125586)

          Exhibit 218: Eric V. Mazur’s Curriculum Vitae

          Exhibit 219: Email chain dated 11/09/2007 (JL 0189497 – 0189501)

          Exhibit 220: Email to Neil Seidman from James Dvorak dated 11/09/2007 (INTX 155027
          – 155167)

          Exhibit 221: Email chain dated 11/09/2007 (INTX 161932 – 162217)

          Exhibit 222: Email chain dated 11/09/2007 (INTX 167594 – 167596)

          Exhibit 223: Email chain dated 11/09/2007 (INTX 167597 – 167600)

          Exhibit 224: Email to Neil Seidman from James Dvorak dated 11/09/2007 (INTX 162936
          – 163281)

          Exhibit 225: Email chain dated 11/09/2007 (INTX 169731 – 169732)

          Exhibit 226: Email to Neil Seidman from James Dvorak dated 11/09/2007 (INTX 401568
          – 401569)

          Exhibit 227: Email chain dated 11/09/2007 (INTX 371658 – 158643)

          Exhibit 228: Email chain dated 11/09/2007 (INTX 158642 – 158643)

          Exhibit 229: Email to Neil Seidman from James Dvorak dated 11/09/2007 (INTX 160423
          – 160488)

          Exhibit 230: Email to Neal Dittersdorf from Jason Wood dated 11/28/2007 (INTX
          170043 – 170059)

          Exhibit 231: Email to Jason Wood from James Dvorak dated 11/29/2007 (INTX 401570
          – 401610)

                                               11
  EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 12 of 19 PageID# 1255




          Exhibit 232: Email to James Dvorak from Jason Wood dated 11/29/2007 (INTX 169075
          – 169079)

          Exhibit 233: Email chain dated 11/30/2007 (INTX 158733 – 158735)

          Exhibit 234: Net Enforcers Inc. Voided/Deleted Transactions Detail dated 10/21/2007

          Exhibit 235: Net Enforcers Inc. Voided/Deleted Transactions Detail dated 10/02/2007

          Exhibit 236: Net Enforcers Inc. Voided/Deleted Transactions Detail dated 10/12/2007

          Exhibit 237: Net Enforcers Inc. Voided/Deleted Transactions Detail dated 10/27/2007

          Exhibit 238: Net Enforcers Inc. Voided/Deleted Transactions Detail dated 11/04/2007

          Exhibit 239: Net Enforcers Inc. Voided/Deleted Transactions Detail dated 12/03/2007

          Exhibit 240: Net Enforcers Inc. Open Invoices as of 08/31/2008

          Exhibit 241: Net Enforcers Inc. Audit Trail Canon Transaction

          Exhibit 242: Net Enforcers Inc. Audit Trail Pay Pal Transaction

          Exhibit 243: Net Enforcers Inc. Transaction List by Customer – CSAV, Inc.

          Exhibit 244: Net Enforcers Inc. Transaction List by Customer – Novartis Corporation

          Exhibit 245: Net Enforcers Inc. Transaction List by Customer – NEC Display

          Exhibit 246: Net Enforcers Inc. Transaction List by Customer – Thales Navigations, Inc.

          Exhibit 247: Net Enforcers Inc. Invoice dated 01/31/2007 (INTX 198995 – 199054)

          Exhibit 248: Email to Jenni Loomis from Joseph Loomis dated 04/03/2007 (INTX
          094436 – 094449)

          Exhibit 249: Net Enforcers Inc. Invoice dated 01/07/2007 (INTX 400559 – 198774)

          Exhibit 250: Email chain dated 10/25/2008 (INTX 205616 – 205617)

          Exhibit 251: Email chain dated 11/12/2009 (INTX 198349 – 198350)

          Exhibit 252: Net Enforcers Inc. Invoice dated 09/25/2007 (INTX 199149)

          Exhibit 253: Email chain dated 11/12/2009 (INTX 199032 – 199034)


                                                 12
  EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 13 of 19 PageID# 1256




          Exhibit 254: Email chain dated 11/17/2009 (INTX 398662 – 398667)

          Exhibit 255: Email chain dated 11/17/2009 (INTX 398671)

          Exhibit 256: Letter to Michael Zorich from Christopher Cwalina dated 11/24/2009 INTX
          398684 – 398686)

          Exhibit 257: Email chain dated 08/13/2009 (INTX 199146 – 199147)

          Exhibit 258: Email chain dated 10/07/2009 (INTX 198888 – 198891)

          Exhibit 259: Email chain dated 10/07/2009 (INTX 198892 – 198896)

          Exhibit 260: Letter to David Fisher from Christopher Cwalina dated 10/26/2009 (INTX
          199233 – 199242)

          Exhibit 261: Email chain dated 10/28/2009 (INTX 199039 – 199041)

          Exhibit 262: Letter to Christopher Cwalina from David Fisher dated 11/19/2009 (INTX
          400150 – 400152)

          Exhibit 263: Letter to David Fisher from Christopher Cwalina dated 11/25/2009 (INTX
          398681 – 398683)

          Exhibit 264: Letter to David Fisher from Christopher Cwalina dated 11/30/2009 (INTX
          401550)

          Exhibit 265: Email chain dated 12/10/2009 (INTX 401618 – 401619)

          Exhibit 266: Email chain dated 11/12/2009 (INTX 199042 – 199044)

          Exhibit 267: Letter to Bruce Longbottom from Christopher Cwalina dated 11/17/2009
          (INTX 398678 – 398680)

          Exhibit 268: Letter to Bruce Longbottom from Christopher Cwalina dated 12/02/2009
          (INTX 401547 – 401549)

          Exhibit 269: Email chain dated 12/14/2009 (INTX 401611 – 401617)

          Exhibit 270: Email chain dated 08/07/2007 (INTX 379697 – 379702)

          Exhibit 271: Email chain dated 02/04/2008 (JML 0014050)

          Exhibit 272: Email to Joseph Loomis from Amanda Johnson dated 09/10/2007 (JL
          0134646)


                                               13
  EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 14 of 19 PageID# 1257




          Exhibit 273: Novartis Cancellation Receipt (INTX 202434)

          Exhibit 274: Email chain dated 09/26/2007 (INTX 121817 – 121821)

          Exhibit 275: Email chain dated 10/01/2007 (JL 0350473 – 350474)

          Exhibit 276: Email chain dated 10/20/2007 (JL 0178579 -0178581)

          Exhibit 277: Email to Christopher Cwalina from Karl Young dated 10/27/2008 (INTX
          401529)

          Exhibit 278: Email chain dated 06/21/2008 (INTX 100798 – 100802)

          Exhibit 279: Email chain dated 07/07/2008 (INTX 099230 – 099235)

          Exhibit 280: Email to Matthew Leberer from Joseph Loomis dated 07/24/2008 (INTX
          099206)

          Exhibit 281: Email to Matthew Leberer from Joseph Loomis dated 08/04/2008 (INTX
          099204 - 099205)

          Exhibit 282: Email chain dated 08/11/2008 (INTX 099632 – 099713)

          Exhibit 283: Email chain dated 11/21/2007 (INTX 096592 - 096596)

          Exhibit 284: Copy of Net Enforcers check to IRS dated 11/12/2008 (INTX 401561 –
          401566)

          Exhibit 285: Copy of Intersections check to Bank of America dated 02/13/2008 (INTX
          401552 – 401560)

          Exhibit 286: Letter to Madalyn Behneman from James Waller dated 02/13/2008 (INTX
          401540 – 401546)

          Exhibit 287: 2004 Stock Option Plan of Intersections Inc. (INTX 401530 – 401539)

          Exhibit 288: List of IP Addresses dated 10/20/2008 (INTX 401501 – 401503)

          Exhibit 289: Email chain dated 11/29/2009 (INTX 398668 – 398670)

          Exhibit 290: Email chain dated 10/30/2007 (INTX 093742 – 093756)

          Exhibit 291: Email chain dated 09/14/2007 (INTX 093730 – 093741)




                                                14
  EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 15 of 19 PageID# 1258



          Exhibit 292: Email to Sheilah Snyder from Jason Wood dated 10/10/2007 (INTX 045400
          – 045395)

          Exhibit 293: Letter to Joseph Loomis from IRS dated 10/10/2007 (INTX 045401 –
          045402)

          Exhibit 294: Email to Philip Murawski from Joseph Loomis dated 08/19/2007 (INTX
          084335 – 084336)

          Exhibit 295: Email chain dated 09/17/2008 (INTX 044743 – 044748)

          Exhibit 296: Email chain dated 09/17/2008 (INTX 024163 – 024164)

          Exhibit 297: Company Information Agreement dated 12/10/2007 (INTX 046028 –
          046030)

          Exhibit 298: Use of Computer and Computer Network Services of Intersections Inc.
          Policy (INTX 046033 – 046037)

          Exhibit 299: Email to Kevin Jones from Joseph Loomis dated 09/16/2007 (JL 0197611)

          Exhibit 300: Eli Lilly Contract (INTX 069676 – 069716)

          Exhibit 301: Pharmaceutical Anti-Spam Campaign Proposal for Eli Lilly dated
          04/05/2006 (INTX 069744 – 069878)

          Exhibit 302: Internet Enforcement Agreement for NEC Solutions (INTX 202253 –
          202263)

          Exhibit 303: Service Agreement for Novartis Services, Inc. (INTX 065781 – 065826)

          Exhibit 304: Internet Enforcement Agreement for Canon U.S.A. Inc. (INTX 068794 –
          068901)

          Exhibit 305: Authorization to Represent Intellectual Property Rights Owner for Sanus
          Systems (INTX 068950 – 069026)

          Exhibit 306: Execution Procedure for Thales Navigation (INTX 070943 – 071001)

          Exhibit 307: Email chain dated 10/01/2008 (INTX 002596 – 002623)

          Exhibit 308: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 017814)

          Exhibit 309: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056437)


                                                 15
  EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 16 of 19 PageID# 1259




          Exhibit 310: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056438)

          Exhibit 311: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056441)

          Exhibit 312: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056442)

          Exhibit 313: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056445)

          Exhibit 314: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056446)

          Exhibit 315: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056521)

          Exhibit 316: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056522)

          Exhibit 317: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056523)

          Exhibit 318: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056524)

          Exhibit 319: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056525)

          Exhibit 320: QuickBooks file – Document provided in Native Format, please see Native
          Version (INTX 056526)

          Exhibit 321: Letter Support System Services Agreement for Eli Lilly (INTX 046593 –
          046599)

          Exhibit 322: OpSec Security Group plc Acquisition of P4M GmbH (INTX 121499)

          Exhibit 323: Email to Michael Stanfield from Joseph Loomis dated 06/30/2008 (INTX
          121428 – 121433)

          Exhibit 324: Email chain dated 08/21/2008 (INTX 058906 – 058911)

          Exhibit 325: Email chain dated 08/26/2008 (INTX 058898 – 058902)



                                                16
  EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 17 of 19 PageID# 1260



          Exhibit 326: Email chain dated 07/23/2007 (CK 001695 – 001699)

          Exhibit 327: Email to David Burns from John Scanlon dated 05/17/2007 (INTX 198841 –
          198845)

          Exhibit 328: 2008 W-2 and Earning Summary for Christopher Soyas (INTX 199262)

          Exhibit 329: 2008 W-2 and Earning Summary for Sheilah Snyder (INTX 199263)

          Exhibit 330: 2008 1099 Form for Net Enforcers (INTX 199148)

          Exhibit 331: 2008 W-2 and Earning Summary for Matthew Leberer (INTX 199265)

          Exhibit 332: 2008 W-2 and Earning Summary for Daniel Essig (INTX 199264)

          Exhibit 333: Letter to Joseph Loomis from John Scanlon dated 08/20/2007 (INTX
          046144 – 046155)

          Exhibit 334: Email chain dated 10/02/2007 (INTX 329041 – 329043)

          Exhibit 335: Email chain dated 10/26/2007 (JL 0232210 – 0232213)

          Exhibit 336: Email chain dated 10/22/2009 (INTX 093676 – 093677)

          Exhibit 337: Email to Keith Jenkins from Chris Loomis dated 05/20/2008 (INTX 119121
          – 119152)

  Plaintiffs reserve the right to seek to admit into evidence: such other exhibits as may become

  relevant or may be disclosed during any remaining discovery or pretrial proceedings; any

  pleading or written discovery response; any or all of the exhibits listed by Defendants (subject to

  the objections to be filed by Plaintiffs); and any deposition exhibit. Plaintiffs further reserve the

  right to designate additional exhibits for purposes of rebuttal. In addition, any and all exhibits

  (or portions thereof) may be enlarged for trial.




                                                     17
  EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 18 of 19 PageID# 1261



  Dated: December 17, 2009           Respectfully submitted,


                                     By:        /s/
                                            Tara Lee (Virginia Bar No. 71594)
                                            Ryan C. Berry (Virginia Bar No. 67956)
                                            Attorneys for Plaintiffs
                                            DLA PIPER LLP (US)
                                            1775 Wiehle Avenue, Suite 400
                                            Reston, Virginia 20190
                                            Telephone: 703.773.4000
                                            Facsimile: 703.773.5000
                                            Tara.Lee@dlapiper.com
                                            Ryan.Berry@dlapiper.com

                                            David Clarke (admitted pro hac vice)
                                            Michelle J. Dickinson (admitted pro hac vice)
                                            Melissa R. Roth (admitted pro hac vice)
                                            DLA Piper LLP (US)
                                            6225 Smith Avenue
                                            Baltimore, Maryland 21209
                                            Telephone: 410.580.3000
                                            Facsimile: 410.580.3001
                                            David.Clarke@dlapiper.com
                                            Michelle.Dickinson@dlapiper.com
                                            Melissa.Roth@dlapiper.com

                                            Attorneys for Plaintiffs
                                            Intersections Inc. and Net Enforcers, Inc.




                                       18
  EAST\42633287.1
Case 1:09-cv-00597-LMB-TCB Document 82 Filed 12/17/09 Page 19 of 19 PageID# 1262



                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 17th day of December, 2009, I caused the foregoing Plaintiffs’

  Pre-Trial Disclosures to be electronically filed with the Clerk of the Court using the CM/ECF

  system, which will then send a notification of such filing (NEF) to the following:

                         Thomas M. Dunlap, Esquire
                         Email: tdunlap@dglegal.com
                         David Ludwig, Esquire
                         Email: dludwig@dglegal.com
                         Dunlap, Grubb & Weaver P.C.
                         199 Liberty Street, S.W.
                         Leesburg, Virginia 20175


                         Counsel for Defendants Joseph C. Loomis and Jenni M. Loomis



                                                             /s/
                                                        Tara Lee
                                                        Virginia bar number 71594
                                                        Attorney for Plaintiffs
                                                        DLA PIPER LLP (US)
                                                        1775 Wiehle Avenue, Suite 400
                                                        Reston, Virginia 20190-5159
                                                        Phone: (703) 773-4150
                                                        Facsimile: (703) 773-5000
                                                        tara.lee@dlapiper.com




                                                  19
  EAST\42633287.1
